           Case 1:18-cr-00134-RP Document 137-1 Filed 03/25/20 Page 1 of 5




                                AFFIIiAYIL[OF MICHAEL FOX


       "On         32'-                    ,   2020,    I,   hichael Fox, declare under 28

U.S.C.      §1746    that the following material factual                          allegations are

within my personal knowledge and are true and correct to the best

of my information and belief.

       I    am over the age of seventy.                       I   previously filed with this

Court and the Warden on November 7, 2019, correspondence regarding

compassionate         release.         I       herein adoDt those factual allegations

and    they    are    true     and     correct         to the      best of my         knowledge and

belief.        That filing accuratelY describes my mental                              state and my

prior employment history with the State of Texas law enforcement.

       I     previously        requested          compassionate          release based         on       the

federal       predicates contained                in my prior filing             and believe that

under the First Step Act and Second Chance Act,                              I    am entitled to

be placed on home confinement for the balance of my sentence.

       On     review      of    the        harden's         corresPondence        (co      attached

hereto) and consideration of the offer to settle this matter,                                       I    am

willing to settle this matter by spending the remainder of my time

in    either       halfway     house       or home confinement             and    to    coml        with

such       terms    and   conditions            as   the     BUP    or   probation       department

(community         supervision)        may       reasonably        impose.       My    release date

would be June 20, 2020.                To the extent that the BOP fails to honor

its    representations           to        place       me    in    halfway       house    and       home

confinement for the full eighteen (18) months (under the First




                                                                                                         1
        Case 1:18-cr-00134-RP Document 137-1 Filed 03/25/20 Page 2 of 5




Step   Act),   I   would ask the Court to grant compassionate release

ordering my transfer      to come   confinement (compassionate release)

for the balance of m      sentence1"


       Further Declarant sayeth not1




hate                                    iichael Fox




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         Case 1:18-cr-00134-RP Document 137-1 Filed 03/25/20 Page 3 of 5




                                                  U.S. Department of Justice

                                                  Federal Bureau of Prisons

                                                  Federal Correctional Complex

                                                  P.O.Box 26025
                                                  Beaumont, Texas 77720

                                                  January 31, 2020



Diana Fox
109 Mockingbird Lane
Georgetown, TX 78633

Re:    FOX, Michael
       Reg. No. 12510-480

Dear Mrs. Fox:

Thank you for your correspondence on behalf of your husband,
Michael Fox, an inmate currently confined at the Federal Correctional
Complex, Low Security Institution, Beaumont, Texas.  Specifically, you
request assistance in securing additional Residential Reentry Center
(RRC) placement for your husband.

On December 21, 2018, President Trump signed into law the First Step
Act of 2018 ("Act")   The Act does not state "effective immediately"
                       .



and does not apply to all inmates. The Federal Bureau of Prisons is
currently reviewing the new law and is preparing to implement the
relevant provisions. Mr. Fox's Unit Team has reviewed his risk and
needs assessment system required by the Act. After further review,
your Husband will qualify for the First Step Act.  His Case Manager
will submit him for 12 months Halfway House Placement and 6 months of
Home Confinement.

I   trust this information will be helpful to you.



Sincerely,



F.J.'1
Warden
            Case 1:18-cr-00134-RP Document 137-1 Filed 03/25/20 Page 4 of 5
4




            weilpath
            The New CCS+CMGC.




     Date of Service:     S'   rio
                                      Psychiatric Follow-up Evaluation


    Patient Name:                    t%JkJ1d(VJ                    Date of Birth:
                                (


    Inmate Registration Number:       I   dS)      4Interview Loc: EQ-    Camp           Medium         USP




                                                                                                    i'ji
    OBJECTIVE:                                             __ii__                                           ____'.
                                           disheveled
    Mood:                                   Affect:ent w/m
    Behavior: :.                     not cooperative
    Speech:
    Thought Pro                rIo              Othj               SI?    N HI?L
    Presence of              VH or delusiol')s or +A
                                                   delusions
    Cognitio      ye Average                   Borde      Intellectual Functioning
    Insight: Good   Fair   Poor                nt:            Fair      Poor




    ASSESSMENT:         11D
    PLAN:                                                                             OISCLIS&
    Medicons:           tti

    Labs:           fl(
    FoIIo-up:
                                                                                                            C


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                                                                               - LOW
                                                                  FCC BEAUMONT 1283           weilpath
                                                                                    Murireesboro       Road
                                                                                                        500
                                                                                                    Suite
                                                                                        Nashville, TN 37217      E


                                                                                          www.welipathcare.com
                                                                  Report Presents Bleak Analysis of BOP Medical Bureaucracy
                                                                                                  by Derek Gilna
                                THE FEDERAL BUREAU OF PRISONS                       of building prisons in remote or rural areas,       ficials correct these failings, including the
Case 1:18-cr-00134-RP Document 137-1 Filed 03/25/20 Page 5 of 5




                                 (BOP) is arguably a failed institution,            to save money on construction costs and            better use of PHS employees to address
                             and that fact is no more obvious than in               salaries of staff drawn from economically-         critical medical staff shortages. The report
                             the substandard medical care it provides to            depressed communities. It should come as no        noted that "As the BOP struggles to fill
                             the prisoners in its custody. Although the             surprise to the BOP that doctors and skilled       its medical staffing needs, and as medical
                             B OP'S bloated bureaucracy absorbs an ever-            medical personnel don't find positions in          costs continue to rise, the BOP must collect
                             increasing percentage of the Department of             remote, rural prisons particularly attractive.     better information on its priority health
                             Justice's financial resources, it never seems               Staffing shortages are not the only           services vacancies and find solutions to meet
                             to be able to deliver even a mediocre level            problem with BOP medical care. Since               the medical needs of its inmates."
                             of medical care, and has become a magnet               salaries are not competitive and working                 However, the OIG failed to identify
                             for prisoner tort claims and federal civil             conditions not ideal, it also should come as       the primary problem facing the federal
                             rights lawsuits. For too many prisoners with           no surprise that the federal prison system         prison system, which is a systemic lack of
                             serious health needs, a stint in the BOP can           does not attract the most qualified appli-         commitment 10 providing adequate medical
                             turn into a death sentence.                            cants. Therefore, it likewise should not be        treatment to prisoners who have no other
                                  That is the inescapable conclusion one            surprising that medical practitioners willing      options for their healthcare needs.
                             derives from a March 2016 report on the                to work in federal prisons typically do. not             Also working against the BOP is its
                             BOP's medical system by the DOJ's Office               provide the highest level of competent care.       reluctance to utilize the compassionate re-
                             of the Inspector General (OIG). Accord-                     The OIG report made the following             lease proce.ss to address. a steadily increasing
                             ing to the report, "recruitment of medical             observations: The BOP's compensation and           number of extremely ill, elderly and infirm
                             professionals is one of the BOP's greatest             incentives offered to medical staff are insuf-     federal lisoners. Instead of releasing such
                             challenges and staffing shortages limit                ficient to alleviate staffing shortages, the       prisoners to their families, the BOP allows
                                   inmate access to medical care, result in .an     BOP does not identif' or address recruiting        them to remain incarcerated where they
                                   increased need to send inmates outside the       challenges in a strategic manner, and the BOP      are at the mercy of a failed medical system.
                                   institution for medical care, and. contribute    does not use the authority it has to assign        [See: PLN Dec.2014, p.5O].
                                   to increases in medical costs."                  Public Health Service (PHS) officers to posi-
                                        One could argue that such shortcom-         tions in federal prisons based on greatest need.   Sources:www. usatoday. corn, https://oig.
                                   ings are a direct result of the BOP's practice        The OIG recommended that BOP of-              justice.gov
